              Case 8:18-bk-01573-RCT          Doc 24      Filed 05/11/18   Page 1 of 2



                                         ORDERED.

         Dated: May 10, 2018




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:
                                                         Case No. 8:18-bk-01573-RCT
GEORGE DOMNING,                                          Chapter 7
JOAN DOMNING

          Debtors.
                                                   /

            ORDER APPROVING APPLICATION TO EMPLOY REAL ESTATE
           MANAGEMENT COMPANY, RETROACTIVE TO FEBRUARY 28, 2018
                               (DOC NO. 23)

          THIS CASE came on for consideration without hearing upon the Chapter 7 Trustee’s

Application to Employ Real Estate Management Company, Retroactive to February 28, 2018

(the “Application”). The Court reviewed the Application and the record and finds that the

Application should be approved. Accordingly, it is

          ORDERED:

         1. The Application is approved.

         2. The Trustee is authorized to employ Beverly Johanson and Real Estate House, Inc. for

            the purposes set forth in the Application.
            Case 8:18-bk-01573-RCT          Doc 24    Filed 05/11/18     Page 2 of 2



      3. No fees will be paid absent prior application and approval of the Court in accordance

          with Section 330 of the Bankruptcy Code.


Dawn A. Carapella, Trustee, is directed to serve a copy of this Order on interested parties and
file a proof of service within three (3) days of entry of the Order.




                                                2
